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                                                                    Southern District of Texas

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                                                                   September 28, 2023
                                                                    Nathan Ochsner, Clerk
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